                                      Case 16-12551-RGM               Doc 51     Filed 01/12/17 Entered 01/12/17 10:19:39                         Desc
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                               UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF VIRGINIA
                                                        ALEXANDRIA DIVISION

In re: FARZAD FARZAYEE                                                                                   Case No.: 16-12551-RGM
       TOBAH FARZAYEE
              Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Thomas P. Gorman, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 07/25/2016.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was dismissed on 12/07/2016.
6) Number of months from filing or conversion to last payment: 3.
7) Number of months case was pending: 6.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:             $500.00
       Less amount refunded to debtor:                       $474.50
 NET RECEIPTS:                                                                     $25.50

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                      $.00
       Court Costs:                                                                $.00
       Trustee Expenses and Compensation:                                        $25.50
       Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                    $25.50

 Attorney fees paid and disclosed by debtor:              $3,500.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim               Claim       Principal            Interest
Name                                        Class            Scheduled         Asserted            Allowed     Paid                 Paid

AMERICAN EXPRESS BANK, FSB                  Unsecured           2,760.00        2,776.94           2,776.94            .00                 .00
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                          UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF VIRGINIA
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In re: FARZAD FARZAYEE                                                                 Case No.: 16-12551-RGM
       TOBAH FARZAYEE
              Debtor(s)

                  CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
AMERICAN EXPRESS BANK, FSB        Unsecured        2,760.00       2,776.94       2,776.94            .00                 .00
BANK OF AMERICA                   Unsecured       33,324.00            NA             NA             .00                 .00
BARCLAYS BANK DELAWARE            Unsecured       13,323.00            NA             NA             .00                 .00
BARCLAYS BANK DELAWARE            Unsecured       11,282.00            NA             NA             .00                 .00
CAPITAL ONE                       Unsecured       15,418.00            NA             NA             .00                 .00
CAPITAL ONE, NA                   Unsecured        2,004.00         51.01          51.01             .00                 .00
CAPITAL ONE, NA                   Unsecured             NA        2,004.36       2,004.36            .00                 .00
CHASE BANK                        Unsecured       23,081.00            NA             NA             .00                 .00
DURRETT CRUMP PLC                 Unsecured       50,000.00            NA             NA             .00                 .00
FARZANA SULTANI                   Unsecured       27,000.00            NA             NA             .00                 .00
FIRST NATIONAL BANK OF OMAHA      Unsecured       12,366.47     12,366.47      12,366.47             .00                 .00
FIRST TENESSE BANK                Unsecured      139,781.81            NA             NA             .00                 .00
FIRST TENNESSEE BANK              Secured               NA     139,781.81             .00            .00                 .00
GUARANTEE AUTOMAXX CORP           Secured               NA             NA             NA             .00                 .00
KAISER PERMANENTE                 Unsecured        2,000.00            NA             NA             .00                 .00
MACYS                             Unsecured         924.00             NA             NA             .00                 .00
MATTRESS DISCOUNTER               Unsecured        4,128.00            NA             NA             .00                 .00
MICHAEL MIRZADA                   Unsecured    1,594,600.00   1,594,600.00   1,594,600.00            .00                 .00
MICHAEL MIRZADA                   Unsecured    1,445,600.00   1,445,600.00   1,445,600.00            .00                 .00
MICHAEL MIRZADA                   Unsecured    1,584,600.00   1,594,600.00   1,594,600.00            .00                 .00
NATIONSTAR MORTGAGE               Secured               NA             NA             NA             .00                 .00
NAVY FEDERAL CREDIT UNION         Unsecured       90,000.00     89,708.38      89,708.38             .00                 .00
PORTFOLIO RECOVERY ASSOCIATES     Unsecured        1,832.00            NA             NA             .00                 .00
QUANTUM3 GROUP LLC                Unsecured        4,122.72       4,122.72       4,122.72            .00                 .00
RADIOLOGIC ASSOC F'BURG           Unsecured        1,595.00            NA             NA             .00                 .00
STAFFORD COUNTY                   Priority         2,500.00       2,058.79       2,058.79            .00                 .00
STAFFORD COUNTY                   Secured               NA      87,489.74      87,489.74             .00                 .00
STATE EMPLOYEES CREDIT UNION      Secured               NA        1,782.99            .00            .00                 .00
THD/CBNA                          Unsecured       12,413.00            NA             NA             .00                 .00
WALMART                           Unsecured        3,968.00            NA             NA             .00                 .00

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                                UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF VIRGINIA
                                                         ALEXANDRIA DIVISION

In re: FARZAD FARZAYEE                                                                                   Case No.: 16-12551-RGM
       TOBAH FARZAYEE
              Debtor(s)

                     CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                       Claim               Claim          Claim          Principal           Interest
Name                                         Class             Scheduled           Asserted       Allowed        Paid                Paid

WELLS FARGO FINANCIAL BANK                   Unsecured                  NA         4,128.82       4,128.82              .00                 .00

 Summary of Disbursements to Creditors:                                                           Claim          Principal           Interest
                                                                                                  Allowed        Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00              .00                 .00
     Mortgage Arrearage:                                                                               .00              .00                 .00
     Debt Secured by Vehicle:                                                                          .00              .00                 .00
     All Other Secured:                                                                          87,489.74              .00                 .00
 TOTAL SECURED:                                                                                  87,489.74              .00                 .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00              .00                 .00
     Domestic Support Ongoing:                                                                         .00              .00                 .00
     All Other Priority:                                                                          2,058.79              .00                 .00
 TOTAL PRIORITY:                                                                                  2,058.79              .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                  4,749,958.70              .00                 .00

 Disbursements:
        Expenses of Administration:                                                                 $25.50
        Disbursements to Creditors:                                                                   $.00
 TOTAL DISBURSEMENTS:                                                                                                                  $25.50

     12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
     foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
     The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:   01/12/2017                                         By:   /s/Thomas P. Gorman
                                                                                   Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. Section 1320.4(a)(2) applies.


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